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UNITED STATES COURT OF INTERNATIONAL TRADE

Before: Hon. Richard K. Eaton, Sr. Judge

VECOPLAN, LLC,                                               :
                                              Plaintiff,     :
                                                             :       Court No. 20-126
                                                             :
                                                             :
                       v.                                    :
                                                             :
UNITED STATES,                                               :
                                                             :
                                              Defendant.     :
                                                             :


                  CONSENT MOTION TO DESIGNATE A TEST CASE

       Pursuant to Rules 83(f) of the United States Court of International Trade, Plaintiff,

Vecoplan, LLC, by its attorneys, Barnes, Richardson & Colburn, hereby moves that Court No.

20-126 be designated a test case. This motion was previously filed and was removed from the

docket as having been premature. On February 17, 2021, counsel for Vecoplan consulted with

counsel for the United States, who consented to test case designation and the suspension

requested in this motion “based on the representations of counsel for Vecoplan that this case

concerns the same significant questions of law and fact as other Vecoplan cases that are

currently pending before the Court of International Trade. As a test case, this action is

intended to proceed first to final determination and serve as a test of the right to recovery in

the other actions.”

       Vecoplan filed its complaint in the proposed test case on November 22, 2020.

Vecoplan intends to actively prosecute the proposed test case. The cases for which Vecoplan

seeks suspension are all entitled Vecoplan, LLC v. United States.

       The test case and the cases for which Vecoplan will seek suspension involve the tariff

classification of industrial size-reduction machinery used, among other application, in the

recycling industry. The legal question in the cases is whether the machines are articles of
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HTSUS item 8479.89.9499 (other machine having an individual function) or HTSUS item

8479.82.0080 (crushing, grinding, screening, sifting, etc. machines).

        Based on the forgoing, and the consent of the United States, Vecoplan, LLC

respectfully requests that the Court grant this order designating Court No. 20-126 as a test

case.

                                                    Respectfully submitted,

                                                    BARNES, RICHARDSON & COLBURN
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                                                    By: /s/ Lawrence M. Friedman
                                                       Lawrence M. Friedman

Dated: April 27, 2021
